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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION


 UNITED STATES OF AMERICA,
                                          CRIMINAL FILE NO.
        v.                                1:08-CR-363-TWT
 EDGAR RODRIGUEZ-ALEJANDRO
 also known as
 Temo,
   Defendant.


                                    ORDER


      This is a criminal case.     It is before the Court on the Report and

Recommendation [Doc. 394] of the Magistrate Judge recommending denying the

Defendants’ Motions to Suppress [Docs. 242, 254, 256, 257, 273]. With respect to

the Motions to Suppress by the Defendants Gonzales and Ibarra, the motion should

be denied because there was probable cause to stop the tractor-trailer for traffic

violations and drug trafficking. The search was also authorized by the consent of

Gonzales. With respect to the Motions to Suppress of Quezadas and Martinez, the

Defendants did not establish a legitimate expectation of privacy which would give

them standing to contest the search of 3241 Hamilton Road. With respect to Pelon’s

Motion to Suppress, the 4 cell phones were found in plain view incident to the
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Defendant’ arrest. The Court approves and adopts the Report and Recommendation

as the judgment of the Court. The Defendants’ Motions to Suppress [Docs. 242, 254,

256, 257, 273] are DENIED.

         SO ORDERED, this 19 day of October, 2009.



                                     /s/Thomas W. Thrash
                                     THOMAS W. THRASH, JR.
                                     United States District Judge




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